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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                        Case No: 20-cv-20389-JLK

  YVETTE GOMEZ,

          Plaintiff,

  v.

  CITY OF DORAL,
  a Florida Incorporated Municipality,
  and MAYOR JUAN CARLOS BERMUDEZ,

        Defendants.
  __________________________________/

                                SECOND AMENDED COMPLAINT

          Plaintiff, YVETTE GOMEZ (“Plaintiff” or “Ms. Gomez”) by and through her undersigned

  counsel, sues Defendants, CITY OF DORAL, a Florida Incorporated Municipality (“Doral”) and

  MAYOR JUAN CARLOS BERMUDEZ (“Mayor Bermudez”) (collectively “Defendants”), and

  alleges as follows:

                                PARTIES, JURISDICTION, AND VENUE

       1. At all times material hereto, Plaintiff was and is a resident of Miami-Dade County, Florida

          and is otherwise sui juris.

       2. At all times material hereto, Defendant, CITY OF DORAL, was and is a municipality in

          the State of Florida located at 8401 N.W. 53rd Terrace, Doral, Florida 33166.

       3. At all times material hereto, Doral has operated and controlled the Doral Police Department

          (“Department”).

       4. At all times material hereto, Defendant, MAYOR JUAN CARLOS BERMUDEZ, was an

          elected official for Doral, acting as the head official, final policymaker, agent, and


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        representative of Doral. Mayor Bermudez as the Mayor for the City of Doral, was the

        employer of Plaintiff and is a state actor for purposes of 42 U.S.C. § 1983. Mayor

        Bermudez, in his individual capacity, is the mayor of the City of Doral and upon

        information and belief, Mayor Bermudez was and is a resident of Miami-Dade County,

        Florida and is otherwise sui juris.

     5. This Court has subject matter jurisdiction pursuant to 42 U.S.C. § 1983, 28 U.S.C. § 1331,

        and supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

     6. Plaintiff was at all relevant times leading up to her termination an employee and agent of

        Doral, as a law enforcement officer for the Doral Police Department.

     7. At all relevant times, Doral was Plaintiff's employer and employed no less than fifteen (15)

        or more employees for each of twenty (20) or more work weeks in the current or preceding

        year.

     8. Doral is accordingly an “employer” as defined by the Florida Civil Rights Act (“FCRA”)

        and under Title VII.

     9. Plaintiff alleges causes of action for sex discrimination and retaliation under the FCRA and

        Title VII, as a result of the sexual harassment she experienced by Doral and its employees,

        servants, agents, and officials, including Mayor Bermudez, among other causes of action.

     10. The violations complained of herein occurred in Miami-Dade County, Florida.

     11. As more fully set forth below, Plaintiff filed a Charge of Discrimination with the Equal

        Employment Opportunity Commission (“EEOC”) on or about October 9, 2018, claiming

        discrimination based on sex and retaliation.

     12. On May 7, 2019, after more than six months had passed from the initial filing of her Charge

        of Discrimination, Plaintiff requested a Notice of Right to Sue from the EEOC.


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     13. Furthermore, on or about June 19, 2018, Plaintiff provided notice of her potential claims

        to Doral’s City Manager and Mayor as required by Fla. Stat. § 768.28(6).

     14. On or about October 21, 2019, the U.S. Department of Justice served its Notice of Right to

        Sue on Plaintiff. Therefore, this Complaint is timely.

     15. Plaintiff has complied with all conditions precedent to suit including compliance with Fla.

        Stat. § 768.28(6) and its requirements.

     16. Plaintiff has accordingly exhausted her administrative remedies prior to initiating the

        instant suit.

     17. Venue lies in the Southern District of Florida as this is where the cause of action accrued,

        and where the parties are located.

                                   FACTUAL ALLEGATIONS

     18. In or about April of 2008, Ms. Gomez, a prospective female employee, interviewed for a

        position as a law enforcement officer with the City of Doral Police Department (the

        “Department”).

     19. During said interview, and based upon sexual animus, Chief Ricardo Gomez (“Chief

        Gomez”), the City of Doral Police Chief at the time, told another commander, “I do not

        care how great [Ms. Gomez] does, she will never be hired.”

     20. Chief Gomez had not had any previous interaction with Ms. Gomez and did not have any

        valid justification for the above comment, other than sex discrimination towards Ms.

        Gomez.

     21. Despite the aforementioned comments and animus, due to another sergeant’s

        recommendation and intervention and Ms. Gomez’s impeccable background, she was hired

        as a law enforcement officer for the Department on or about April 14, 2008.


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     22. For the years that followed, while under Chief Gomez’s management, Ms. Gomez failed

        to receive promotions and deserved commendations due to unlawful discrimination and

        was treated disrespectfully and differently than her male coworkers, including similarly

        situated male officers such as Officer Yojans Martinez, Officer Javier De La Paz, and

        Officer Gregory Hitchings, as a female in the Department’s male-dominated work

        environment. These male officers and Ms. Gomez were similarly situated in all material

        respects besides gender, including, inter alia, their rank, duties and responsibilities, and

        experience level.

     23. On or about January of 2009, a fellow officer and coworker of Ms. Gomez, Detective

        Anthony Rodriguez (“Detective Rodriguez”), was terminated from the Doral Police

        Department. Detective Rodriguez’s termination was without justification and only based

        upon his perceived relationship with Councilmember Sandra Ruiz (“Councilmember

        Ruiz”), a then political adversary of Mayor Bermudez.

     24. Prior to his termination, Detective Rodriguez received multiple threats emanating from the

        Mayor Bermudez’s office and given through the Department’s command staff that he

        would be terminated if he associated with Councilmember Ruiz, which clearly constituted

        an improper interference with the operations of Doral’s Police Department.

     25. Chief Gomez and Mayor Bermudez considered Councilmember Ruiz an obstacle and

        political adversary in her official position. Mayor Bermudez constantly jousted with

        Councilmember Ruiz during their joint political tenure.

     26. Mayor Bermudez’s and Doral’s treatment towards Detective Rodriguez due to his political

        association with Councilmember Ruiz was not an isolated occurrence. The City of Doral,

        by and through Mayor Bermudez, had a known and widespread policy of retaliating against


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        those they perceived to be associated with Councilmember Ruiz, including, but not limited

        to, Ms. Gomez. For example, Officer Pablo Rodriguez was demoted twice, and Sgt.

        Giancarlos Pelosi and Detective Monica Vila were terminated because of their perceived

        association with Councilmember Ruiz. Additionally, many others, including Sgt. Chuck

        Weldon and Sgt. Pete Peterman, were forced to resign from the City of Doral due to the

        pervasive harassment and retaliation endured as a result of this same perceived association

        to Councilmember Ruiz.

     27. Chief Gomez and Mayor Bermudez publicly articulated their desire and intent to remove

        Detective Rodriguez from the Department for this reason alone.

     28. On or about January of 2009, shortly after Detective Rodriguez’s termination, Ms.

        Gomez’s police vehicle was maliciously set on fire while parked outside of her home.

     29. Thereafter, Ms. Gomez received a phone call from Councilmember Ruiz, showing concern

        for Ms. Gomez’s well-being. Following this phone call, the Department sent a mass email

        to all employees indicating that all communications with Councilmember Ruiz were to be

        reported to Chief Gomez. Instead of showing concern for Ms. Gomez’s well-being as a

        victim of a malicious arson, the Department suspended Ms. Gomez for three days on

        pretextual grounds.

     30. Following this incident, Chief Gomez and Mayor Bermudez took the stance, as they did

        with Detective Rodriguez, that Ms. Gomez was politically tied to Councilmember Ruiz.

     31. For the years that followed, Ms. Gomez was subjected to increased harassment,

        discrimination, retaliation, and humiliation in the workplace, among other disparate

        treatment, as a woman and as a result of her connection to Councilmember Ruiz.

     32. The aforementioned conduct violated Doral’s own Municipal Charter.


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     33. Specifically, Doral, by and through its employees, agents, servants, and Mayor Bermudez,

        violated Article IV, Section 4.02(c)(i), which holds, in pertinent part:

                Except for the purpose of inquiries and investigations made in good faith, the
                Council or its members shall deal with officers and employees of the City
                who are subject to the direction and supervision of the Manager solely
                through the Manager, and neither the Council nor its members shall give
                orders to any such officer, employee, either publicly or privately. It is the
                express intent of this Charter that recommendations for improvement in City
                government operations by individual Members of the Council be made solely
                to and through the Manager. (emphasis added).

     34. Doral violated the above Section when its mayor, Mayor Bermudez, a member of the

        Council, interfered with and ordered members of the Doral Police Department, such as

        Chief Organvidez and Chief Gomez, to punish, discipline, terminate, threaten, and/or

        harass any police officer, including Ms. Gomez, that associated with Councilmember Ruiz.

     35. On one such occasion, which occurred on or about March 16, 2010, Ms. Gomez requested

        an extension of her maternity leave but was denied the extension although Ms. Gomez had

        earned the additional time off.

     36. Upon her return from maternity leave, Ms. Gomez requested that her schedule be adjusted

        to allow her more time to tend to her newborn child, but this reasonable request was also

        denied. Other male officers, such as Detective Luis Fernandez, requested schedule changes

        around this same time and these requests were granted without issue.

     37. Shortly after Ms. Gomez’s return from maternity leave, false rumors began to circulate that

        Ms. Gomez was going to work in pajamas. On or about November of 2010, Ms. Gomez

        was reprimanded for wearing “pajamas”, meaning jeans, on Sundays. Many similarly

        situated male officers, including, but not limited to, Detective Rafael Baena, Officer Jorge

        Garcia, Officer Yojans Martinez, Officer Angel Travieso, and Officer J. Polanco, wore



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        jeans on the weekends, but Ms. Gomez, a female, was the only officer reprimanded for this

        common practice.

     38. In furtherance of the retaliatory and discriminatory conduct towards Ms. Gomez, Ms.

        Gomez learned that requests were made from City Hall for Department officials to monitor

        the surveillance cameras specifically to spy on Ms. Gomez, a practice not applied to male

        officers.

     39. Police surveillance cameras are intended to be utilized in significant criminal investigations

        or acts of significant malfeasance and not for discriminatory purposes and targeted

        harassment of individual employees.

     40. Since Ms. Gomez’s pregnancy and political association with Councilmember Ruiz, as set

        forth above, it became increasingly clear that the Department’s command staff was

        targeting Ms. Gomez, a female, attempting to manufacture any excuse to unfairly discipline

        her and utilizing false information in a prelude to terminate her.

     41. On or about April of 2011, an anonymous source sent a letter to the Miami-Dade State

        Attorney’s Office, accusing the Doral Police Department and Chief Gomez of impropriety

        and criminal activity.

     42. As a result of the letter, the Florida Department of Law Enforcement (“FDLE”)

        commenced an investigation into the allegations of misconduct.

     43. Ms. Gomez, as any other private citizen who possessed relevant information would be, was

        asked to be a witness and cooperate with the FDLE investigation of Chief Gomez.

     44. The FDLE Investigative Summary included Ms. Gomez’s statement which consisted

        mostly of Ms. Gomez’s personal knowledge of information relevant to the investigation,

        her experiences while working for the City of Doral, and contact information of potential


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        witnesses that could help the FDLE with its investigation. The FDLE Summary provided

        that, “Officer Gomez was questioned on Wednesday, April 20, 2011, at the FDLE MROC,

        where she rendered a sworn, digitally recorded statement in the presence of SA Saladrigas

        and SAS Breeden. She confirmed that she had heard rumors of an anonymous letter that

        had reportedly been sent to the SAO, the Doral City Council, and the Doral City Manager,

        but she denied having ever seen the letter before that date. Officer Gomez went on to

        describe a series of problems that she had experienced with Chief Ricardo “Ricky” Gomez.

        Most of the problems seemed administrative in nature… However, Officer Gomez did go

        on to identify several current and former employees of the Doral Police Department, who,

        according to sources, did have direct and indirect information about alleged criminal

        activity involving the Chief of Police and certain members of his command staff.”

     45. Ms. Gomez’s statements, as set forth above, were made as a private citizen and not pursuant

        to her official duties as a detective for the City of Doral. Ms. Gomez’s official duties as a

        detective with the City of Doral involved investigating suspected crimes, gathering

        evidence, and interviewing suspects, among other duties, for the City of Doral’s criminal

        cases. None of her official duties were implicated in this FDLE investigation, where she

        served as a witness speaking on a matter of public concern and not as the investigator.

     46. As a direct and proximate result of Ms. Gomez’s statement and her cooperation with the

        FDLE, Ms. Gomez was wrongfully labeled as the whistleblower who reported the

        Department’s illegal conduct and subsequently retaliated against. In other words, Chief

        Gomez and Mayor Bermudez believed Ms. Gomez to be the author of the anonymous letter

        and the discriminatory conduct against her increased thereafter.




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     47. The FDLE investigation ultimately found Chief Gomez to have violated multiple

        Department policies. On or about December of 2012, Chief Gomez was officially

        terminated as a result thereof.

     48. While Mayor Bermudez and Chief Gomez were in office, Ms. Gomez, a female, was

        continuously harassed and defamed, without any support from the Department’s command

        staff.

     49. In November of 2012, the City of Doral finally elected a new mayor to succeed Mayor

        Bermudez.

     50. Over the years that followed, Ms. Gomez was promoted to sergeant while under Chief

        Richard Blum’s and Mayor Luigi Boria’s administration and then promoted to lieutenant

        while under Chief Donald De Lucca’s (“Chief De Lucca”) administration. Treatment of

        the Ms. Gomez significantly improved under these succeeding administrations, especially

        from the Department’s command staff. In fact, Ms. Gomez’s evaluations markedly

        improved under these administrations and were almost always exceptional.

     51. Ms. Gomez’s quality of work and work ethic were never the issue in Ms. Gomez’s

        professional advancement and duties. The harassment and sex discrimination Ms. Gomez

        was subjected to under the previous administration, including her lack of advancement,

        was a product and result of Mayor Bermudez’s, and the police chiefs appointed by Mayor

        Bermudez, personal bias and vendetta against Ms. Gomez for her political affiliation with

        Councilmember Ruiz, her truthful testimony in an FDLE investigation, and her sex as a

        female.




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     52. On or about November of 2016, Mayor Bermudez was re-elected as Mayor for the City of

        Doral. Shortly after his reelection, in furtherance of his animus towards Ms. Gomez, Mayor

        Bermudez publicly disparaged Ms. Gomez to the command staff of the Department.

     53. Furthermore, upon his reelection, Mayor Bermudez continued and enhanced his

        discriminatory actions towards Ms. Gomez.

     54. In or about January of 2017, Mayor Bermudez became irate and made disparaging

        comments to the Department’s command staff about Ms. Gomez when he learned she had

        been promoted to lieutenant.

     55. In or about March of 2017, Ms. Gomez, a single mother, was reassigned to work midnight

        shifts, as a direct result of Mayor Bermudez’s directives to harass and discriminate against

        her. Lieutenant Orlando Sanchez, a similarly situated male lieutenant and ally of Mayor

        Bermudez, was allowed to work the day shift that had previously been assigned to Ms.

        Gomez.

     56. In or about April of 2017, Ms. Gomez requested authorization to leave the limits of the

        City of Doral for a short period of time due to a scheduling conflict involving her children.

        Major Jose Seiglie (“Major Seiglie”) authorized Ms. Gomez to do so for any future

        scheduling conflicts as long as she had her radio on and was able to respond to critical

        calls. It should also be noted that the scheduling conflict solely arose due to the

        reassignment of Ms. Gomez to midnight shifts.

     57. Ms. Gomez was assured the accommodation was approved as lieutenants are rarely

        assigned to respond to calls and enjoy heightened flexibilities with their work schedules.

        In fact, similarly situated male lieutenants, such as Lt. Orlando Sanchez, Lt. Daniel




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        Munecas, Lt. Yojans Martinez, and Lt. Gary King, normally enjoyed the same

        accommodations without issue.

     58. In or about June of 2017, Payroll Specialist Maria Basulto (“Basulto”) resigned from her

        position with the Department.

     59. In addition to her normal duties, and to provide interim continuity to the payroll department

        until a replacement was hired, Ms. Gomez, who had been trained in payroll procedures and

        had helped complete payroll with Basulto for almost four years, agreed to fill in for Basulto

        in her absence and to input payroll information for Department personnel. Ms. Gomez did

        so on a program called Kronos with the help of Human Resources Assistant Director, Rita

        Garcia (“Garcia”), during Hurricane Irma.

     60. The Department’s supervisors and command staff were aware of and appreciated the aid

        Ms. Gomez provided to the payroll department in assuming these additional duties. In fact,

        Ms. Gomez would directly communicate with coworkers and supervisors about their

        schedules and overtime so that she could input the correct information.

     61. Ms. Gomez’s squad commended and appreciated her dedication to payroll and overtime

        worked during a hurricane.

     62. During Hurricane Irma, one of Ms. Gomez’s squad members observed Mayor Bermudez

        and others drinking alcoholic beverages while working in the command center. Instead of

        demonstrating regret and embarrassment, Mayor Bermudez and his staff told the observing

        officer to mind their “own business” and to be silent about what they had observed. While

        Ms. Gomez did not personally witness this incident or report it, Ms. Gomez was wrongfully

        accused of having reported the incident to the Ethics Committee.




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     63. Despite Ms. Gomez’s efforts and dedication to payroll during the hurricane, Garcia, at the

         direction of the command staff, falsely accused Ms. Gomez of improperly participating in

         payroll procedures. Ms. Gomez was wrongfully suspended and disciplined for three weeks

         as a result and was not paid for the sixty additional hours of overtime she worked during

         Hurricane Irma.

     64. In or about December of 2017, as a result of the Kronos incident where she was falsely

         accused and reprimanded on pretextual grounds, Ms. Gomez did not receive her annual

         raise. Furthermore, Ms. Gomez’s evaluation was initially excellent and commended Ms.

         Gomez for her Kronos initiative, especially after Basulto’s resignation. However, Ms.

         Gomez’s evaluation was subsequently changed and lowered due to the false disciplinary

         matters relating to the payroll incident. There was no question that Ms. Gomez’s evaluation

         was altered at the direction of the command staff and not as a result of her supervisors’

         evaluation.

     65. For the months that followed, Ms. Gomez was consistently harassed, micromanaged, and

         instructed by her supervisors to wrongfully and unjustifiably reprimand and evaluate

         several of the female officers under her command, including those that had witnessed

         Mayor Bermudez drinking alcohol during Hurricane Irma.

     66. In a series of attempts to harass and retaliate against her and to interfere with her child care

         schedule, the Doral Police Department changed the lieutenant’s schedules to twelve hours

         a day instead of ten hours a day in or about of January of 2018, while Ms. Gomez was on

         her three-week suspension. Ms. Gomez pleaded that her schedule be accommodated due

         to her minor children, but this request was denied.




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     67. Shortly thereafter, Ms. Gomez had a meeting with Captain Rodriguez and Major Seiglie,

        wherein they explicitly allowed Ms. Gomez to accommodate her schedule, giving their

        approval. Inexplicably, and contrary to standard practice, they indicated that this

        conversation should not be reduced to writing.

     68. In late March of 2018, Ms. Gomez was advised by Captain Carlos Arango (“Captain

        Arango”) that a tracker had been placed on her police vehicle to track when Ms. Gomez

        was leaving the limits of the City while on duty and that Mayor Bermudez was the

        complainant.

     69. Ms. Gomez explained that she was not violating any directive since she had her superiors’

        express permission. Nonetheless, Ms. Gomez was informed that, if questioned, her

        supervisors would deny this and would not support Ms. Gomez.

     70. Ms. Gomez was also advised that she should resign from her position before she was

        discriminatorily terminated.

     71. Many Florida police departments have a policy wherein they refuse to hire any law

        enforcement officers that have a prior termination from a law enforcement position as part

        of their record. Knowing this, Ms. Gomez knew that a termination would permanently

        jeopardize her ability to ever work in another law enforcement agency.

     72. On or about April of 2018, Chief Hernan Organvidez (“Chief Organvidez”) was appointed,

        and as a close ally of Mayor Bermudez, continued to target and harass Ms. Gomez.

     73. As a result of the aforementioned harassment, discrimination, persecution, and threat of

        termination, including, but not limited to, tracking Ms. Gomez’s police vehicle, spying on

        Ms. Gomez with surveillance cameras, disparaging her name and falsely accusing her of

        violating department policies, as perpetrated by Mayor Bermudez and the police


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           department’s command staff, Ms. Gomez’s working environment grew incredibly hostile,

           discriminatorily abusive, and intolerable to the point that she was forced to resign.

       74. It should be noted that prior to her termination, Ms. Gomez consistently complained of and

           reported these discriminatory acts to her supervisors, such as Gracia, every time an incident

           would arise. However, her complaints were often left unresolved and she continued to be

           subjected to the same harassment and discrimination. Ultimately, Ms. Gomez reported the

           ongoing issues to the Human Resources Department to HR Director Jorleen and Assitant

           HR Director Isabel. However, once again, her complaints were ignored, leaving Ms.

           Gomez with no administrative remedies.

       75. On April 10, 2018, Ms. Gomez was constructively terminated and forced to resign from

           her position as Lieutenant for the Doral Police Department as a result of the abusive and

           intolerable working environment.

       76. Ms. Gomez was understandably devastated as it had been her long-term career goal to

           become a Police Chief in the future.

       77. Although Doral had not commenced an internal affairs investigation prior to Ms. Gomez’s

           termination, an IA investigation was commenced and post-dated after Ms. Gomez’s

           termination in order to further damage her reputation and record. The Doral Police

           Department fraudulently and falsely labeled Ms. Gomez as having resigned during an open

           investigation on the FDLE Automated Training Management System, so as to jeopardize

           Ms. Gomez’s future employment opportunities.

                     COUNT I – SEX DISCRIMINATION AGAINST DORAL
              Under Florida Civil Rights Act of 1992 (FCRA), 760.01 et seq., Fla. Stat

       Ms. Gomez repeats and realleges each and every allegation set forth in paragraphs 1 – 77 as if

   fully set forth herein.

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     78. As set forth previously, Doral is an “employer” under the FCRA.

     79. Section 760.10 of the FCRA states in relevant part:

                 “(1) It is an unlawful employment practice for an employer:

                        To discharge or to fail or refuse to hire any individual, or otherwise to
                        discriminate against any individual with respect to compensation, terms,
                        conditions, or privileges of employment, because of such individual's race,
                        color, religion, sex, national origin, age, handicap, or marital status.”

     80. The FCRA accordingly prohibits discrimination based on sex.

     81. The treatment and discrimination to which Ms. Gomez was subjected by Doral, as set forth

        above and incorporated herein, was the result of Ms. Gomez's sex/gender, which male

        individuals were not and would not have been subjected, in violation of the FCRA.

     82. Ms. Gomez was clearly qualified for her job as she had received countless positive

        performance evaluations and had been employed by Doral for almost ten years.

     83. Ms. Gomez was subjected to multiple adverse employment actions, including

        discrimination, harassment, retaliation, and ultimately, termination, as more fully set forth

        above.

     84. Similarly situated male employees, such as Lt. Orlando Sanchez, Lt. Daniel Munecas, Lt.

        Yojans Martinez, Lt. Gary King, Detective Rafael Baena, Officer Jorge Garcia, Officer

        Angel Travieso, Officer J. Polanco, Officer Javier De La Paz, Detective Luis Fernandez,

        and Officer Gregory Hitching were treated more favorably than Ms. Gomez, as set forth in

        previous examples. The foregoing male individuals are similar to Ms. Gomez in all relevant

        respects, including rank, experience level, and assigned duties.

     85. The acts of sex discrimination described hereinabove including, but not limited to,

        assigning Ms. Gomez to midnight shifts, failing to pay her for overtime worked, wrongfully

        suspending her and accusing her of improperly participating in payroll, tracking her police

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        vehicle, publicly disparaging her to her coworkers, improperly lowering her evaluation,

        among other discriminatory actions, constituted adverse employment actions and were

        sufficiently severe and pervasive so as to create an intolerable hostile working

        environment, affecting the terms and conditions of the Ms. Gomez's employment,

        including but not limited to, causing Ms. Gomez’s constructive termination.

     86. The acts of sex discrimination described hereinabove were unwelcome and offensive to

        Ms. Gomez.

     87. Doral's alleged bases for its adverse conduct against Ms. Gomez and Ms. Gomez's

        termination are pretextual and asserted only to cover up the discriminatory nature of its

        conduct.

     88. Even if Doral could assert legitimate reasons for its adverse actions against Ms. Gomez

        and her termination, which reasons it does not have, Ms. Gomezs sex/gender was also a

        motivating factor for Doral's adverse conduct toward Ms. Gomez and Ms. Gomez's

        termination.

     89. Doral, as the employer of Ms. Gomez, failed to take any prompt and effective remedial

        action reasonably calculated to result in the prevention and/or remedy of the sex

        discrimination of Ms. Gomez.

     90. As a result of the aforementioned discrimination, Ms. Gomez was constructively

        discharged.

     91. Furthermore, as a result of Doral's discriminatory actions as a result of her sex, Ms. Gomez

        has experienced and will continue to experience significant financial and economic loss in

        the form of lost wages and lost benefits. Ms. Gomez has also experienced and will continue

        to experience emotional anguish, pain and suffering and loss of dignity damages. Ms.


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           Gomez accordingly demands lost economic damages in the form of back pay and front

           pay, interest, lost benefits, and compensatory damages.

       92. Ms. Gomez further seeks her attorney's fees and costs as permitted by law.

       WHEREFORE, Ms. Gomez prays for the entry of a judgment against Doral and an award of

   economic damages in the form of back pay and front pay, lost wages, interest, lost benefits, pre

   and post judgment interest, as well as compensatory damages and attorney's fees and costs as a

   result of Doral's discriminatory conduct in violation of the FCRA and any and all other relief this

   court deems just.

                     COUNT II – SEX DISCRIMINATION AGAINST DORAL
                    Under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000.

       Ms. Gomez repeats and realleges each and every allegation set forth in paragraphs 1 – 77 as if

   fully set forth herein.

       93. Ms. Gomez is a woman and is an “individual” and “employee” under Title VII of the Civil

           Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq.

       94. Doral is a “person” and an “employer” of the Ms. Gomez under Title VII of the Civil Rights

           Act of 1964, as amended, 42 U.S.C. §2000e et seq.

       95. Title VII of the Civil Rights Act of 1964 states, “It shall be an unlawful employment

           practice for an employer - (1) to fail or refuse to hire or to discharge any individual, or

           otherwise to discriminate against any individual with respect to his compensation, terms,

           conditions, or privileges of employment, because of such individual’s race, color,

           religion, sex, or national origin…” 42 U.S.C. §2000e et seq.


       96. The acts of sex discrimination described herein were done on account of the Ms. Gomez's

           sex.


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     97. Ms. Gomez was clearly qualified for her job as she had received countless positive

        performance evaluations and had been employed by Doral for almost ten years.

     98. Ms. Gomez was subjected to multiple adverse employment actions, including

        discrimination, harassment, retaliation, and, ultimately, termination.

     99. Similarly situated male employees, such as Lt. Orlando Sanchez, Lt. Daniel Munecas, Lt.

        Yojans Martinez, Lt. Gary King, Detective Rafael Baena, Officer Jorge Garcia, Officer

        Angel Travieso, Officer J. Polanco, Officer Javier De La Paz, Detective Luis Fernandez,

        and Officer Gregory Hitching were treated more favorably than Ms. Gomez, as set forth in

        previous examples. The foregoing male individuals are similar to Ms. Gomez in all relevant

        respects, including rank, experience level, and assigned duties.

     100.      The acts of sex discrimination described hereinabove including, but not limited to,

        assigning Ms. Gomez to midnight shifts, failing to pay her for overtime worked, wrongfully

        suspending her and accusing her of improperly participating in payroll, tracking her police

        vehicle, publicly disparaging her to her coworkers, improperly lowering her evaluation,

        among other discriminatory actions, constituted adverse employment actions and were

        sufficiently severe and pervasive so as to create an intolerable hostile working

        environment, affecting the terms and conditions of the Ms. Gomez's employment,

        including but not limited to, causing Ms. Gomez’s constructive termination.

     101.      The acts of sex discrimination described hereinabove were unwelcome and

        offensive to the Ms. Gomez.

     102.      Doral knew or should have known of the acts of sex discrimination described

        hereinabove and failed to take prompt corrective action to remedy the harassment, and at

        all times relevant to this action, the employees, agents, and elected officials, such as Mayor


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           Bermudez, referred to herein were in the control of Doral and the officials of the

           Department referred to hereinabove were employees and/or agents of Doral and were

           acting in the course and the scope of their authority.

       103.        The foregoing acts of sex discrimination violated Ms. Gomez's right to be free from

           sex discrimination under Title VII.

       104.        As a direct result of the foregoing acts of sex discrimination, Ms. Gomez has lost

           wages and other employment benefits and/or has suffered emotional distress, humiliation,

           embarrassment, anguish and loss of enjoyment of life and was constructively terminated.

       WHEREFORE, Ms. Gomez prays for the entry of a judgment against Doral and an award of

   economic damages in the form of back pay and front pay, lost wages, interest, lost benefits, as well

   as compensatory damages and attorney's fees and costs as a result of Doral's discriminatory

   conduct in violation of Title VII.

       COUNT III – HOSTILE WORK ENVIRONMENT AGAINST MAYOR BERMUDEZ

       Ms. Gomez repeats and realleges each and every allegation set forth in paragraphs 1 – 77 as if

   fully set forth herein.

       105.        Mayor Bermudez maintained a hostile working environment contaminated by a

           pattern of offensive conduct directed at women and, in particular, Ms. Gomez. Such

           conduct was severe, pervasive and ongoing.

       106.        The acts of sex discrimination described herein were done on account of the Ms.

           Gomez's sex.

       107.        Ms. Gomez was clearly qualified for her job as she had received countless positive

           performance evaluations and had been employed by Mayor Bermudez and Doral for almost

           ten years.


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     108.      Ms. Gomez was subjected to multiple adverse employment actions, including

        discrimination, harassment, retaliation, and ultimate termination by Mayor Bermudez, in

        his individual capacity.

     109.      Similarly situated male employees, such as Lt. Orlando Sanchez, Lt. Daniel

        Munecas, Lt. Yojans Martinez, Lt. Gary King, Detective Rafael Baena, Officer Jorge

        Garcia, Officer Angel Travieso, Officer J. Polanco, Officer Javier De La Paz, Detective

        Luis Fernandez, and Officer Gregory Hitching were not subject to the same harassment by

        Mayor Bermudez and were treated more favorably than Ms. Gomez, as set forth in previous

        examples. The foregoing male individuals are similar to Ms. Gomez in all relevant respects,

        including rank, experience level, and assigned duties.

     110.      The acts of sex discrimination described hereinabove including, but not limited to,

        assigning Ms. Gomez to midnight shifts, failing to pay her for overtime worked, wrongfully

        suspending her and accusing her of improperly participating in payroll, tracking her police

        vehicle, publicly disparaging her to her coworkers, improperly lowering her evaluation,

        among other discriminatory actions, constituted adverse employment actions and were

        sufficiently severe and pervasive so as to create an intolerable hostile working

        environment, affecting the terms and conditions of the Ms. Gomez's employment,

        including but not limited to, causing Ms. Gomez’s constructive termination.

     111.      The acts of sex discrimination described hereinabove were unwelcome and

        offensive to the Ms. Gomez.

     112.      Mayor Bermudez engaged in the discriminatory practices complained of herein.




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      113.        Mayor Bermudez knew or should have known of the acts of sex discrimination

          described hereinabove and failed to take prompt corrective action to remedy the

          harassment.

      114.        Under the Equal Protection Clause of the Fourteenth Amendment of the United

          States Constitution, Ms. Gomez has a right to be free from sexual harassment, gender

          discrimination and retaliation in her employment. Mayor Bermudez, in his individual

          capacity, under the color of state law, and in violation of 42 U.S.C. § 1983, purposefully

          deprived Plaintiff of clearly established federal statutory and constitutional rights by

          subjecting her to intentional and unlawful discriminatory practices based upon her sex by,

          among other things, maintaining a sexually hostile work environment, discriminating

          against her on the basis of gender vis-a-vis promotion opportunities, by engaging in acts of

          disparate treatment with respect to discipline, terminating her employment and by engaging

          in continuing pattern and practice of retaliatory conduct against Plaintiff, and in other

          terms, conditions, and privileges of Plaintiff's employment.

      115.        As a direct result of the foregoing acts of sex discrimination, the Ms. Gomez was

          constructively terminated and has lost wages and other employment benefits and/or has

          suffered emotional distress, humiliation, embarrassment, anguish and loss of enjoyment of

          life.

      WHEREFORE, Ms. Gomez prays for the entry of a judgment against Mayor Bermudez and

   an award of economic damages in the form of back pay and front pay, lost wages, interest, lost

   benefits, as well as compensatory damages and attorney's fees and costs as a result of Mayor

   Bermudez’s discriminatory conduct in violation of Title VII.




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                               COUNT IV – CIVIL RIGHTS VIOLATION
                               UNDER 42 U.S.C. 1983 AGAINST DORAL

       Ms. Gomez repeats and realleges each and every allegation set forth in paragraphs 1 – 77 as if

   fully set forth herein.

       116.        42 U.S.C. Section 1983 states as follows:

                       Every person who, under color of any statute, ordinance, regulation, custom, or
                       usage, of any State or Territory or the District of Columbia, subjects, or causes
                       to be subjected, any citizen of the United States or other person within the
                       jurisdiction thereof to the deprivation of any rights, privileges, or immunities
                       secured by the Constitution and laws, shall be liable to the party injured in an
                       action at law, suit in equity, or other proper proceeding for redress ...

       117.        Doral is a “person” for purposes of Section 1983 and Doral is therefore a proper

           defendant in this Section 1983 Action.

       118.        Doral, under color of law, by the enforcement of a municipal policy, a municipal

           practice, or a decision of a municipal final policymaker, subjected Ms. Gomez to the

           deprivation of her right to Freedom of Association pursuant to the First Amendment to the

           United States Constitution, and is therefore liable for the damages and other relief sought

           in this Action.

       119.        Ms. Gomez was an employee of Doral until her constructive termination from

           employment in or about April 2018.

       120.        For the majority of Ms. Gomez's employment, and at all times relevant hereto, the

           City of Doral’s Mayor and final policymaker was Mayor Bermudez.

       121.        Upon information and belief, Mayor Bermudez and Chief Gomez believed that Ms.

           Gomez was associated with Councilmember Sandra Ruiz.

       122.        This belief was partly based on phone calls and common friends between

           Councilmember Ruiz and Ms. Gomez.


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     123.      Ms. Gomez’s employment did not require a political affiliation. However, as an

        employee of the Doral Police Department, Ms. Gomez was not allowed to publicly support

        Councilmember Ruiz while on duty. However, she did politically associate and align

        herself with Councilmember Ruiz’s beliefs while off-duty, like Detective Rodriguez and

        the other officers mentioned.

     124.      At all material times hereto, Ms. Gomez’s conduct and political affiliation

        constituted an individual, legally protected association under the First Amendment to the

        United States Constitution.

     125.      It was the policy and practice of Doral and the Doral Police Department, by and

        through Mayor Bermudez and other employees, agents, officers, and appointed officials,

        to not associate with political adversaries such as Councilmember Ruiz.

     126.      Throughout his tenure, and as Doral’s top policy maker, Mayor Bermudez would

        command and direct the Doral Police Department chiefs, including Chief Organvidez and

        Chief Gomez, to forbid any officer and/or employee from associating with Councilmember

        Ruiz. Any violation of his command would result in the employee’s termination or other

        adverse employment action, such as that endured by Ms. Gomez and Detective Rodriguez.

        Additional examples of this widespread policy include Officer Pablo Rodriguez’s

        demotions and Sgt. Giancarlos Pelosi’s and Detective Monica Vila’s termination because

        of their perceived association with Councilmember Ruiz. Additionally, many others,

        including Sgt. Chuck Weldon and Sgt. Pete Peterman, were forced to resign from the City

        of Doral due to the pervasive harassment and retaliation endured as a result of this same

        association to Councilmember Ruiz.




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     127.      Due to information and belief that Ms. Gomez was a political supporter of

        Councilmember Ruiz, Doral, through Mayor Bermudez, Chief Gomez, and Major Seiglie,

        and their agents, employees, servants, officers, captains, and lieutenants, threatened Ms.

        Gomez with termination and/or adverse employment action on various occasions if she

        communicated and/or associated with Councilmember Ruiz.

     128.      Due to information and belief that Ms. Gomez was with a political supporter of

        Councilmember Ruiz, Doral discriminated, retaliated against, and constructively

        terminated Ms. Gomez.

     129.      Doral provided pretextual and false reasons for its disciplinary actions towards Ms.

        Gomez.

     130.      Specifically, Doral allegedly constructively terminated Ms. Gomez, in part,

        because she was leaving the city limits while on duty and was inputting payroll information

        for other employees.

     131.      The proffered reasons were mere pretexts for the violation of Ms. Gomez's First

        Amendment right to Freedom of Association as Ms. Gomez was doing the aforementioned

        at the direction of and with the permission of her supervisors and employers, including

        Major Jose Seiglie.

     132.      Ms. Gomez’s conduct of associating with Councilmember Ruiz was a substantial

        or motivating factor in Defendants’ adverse employment actions.

     133.      The conduct described herein constituted adverse employment actions and were

        sufficiently severe and pervasive so as to create an intolerable hostile working

        environment, affecting the terms and conditions of the Ms. Gomez's employment,

        including but not limited to, causing Ms. Gomez’s constructive termination.


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       134.         As a direct and proximate result of Doral’s actions in violation of Ms. Gomez’s

           First Amendment right to Freedom of Association, Ms. Gomez has incurred and continues

           to incur damages, including without limitation lost wages, lost benefits, lost promotions,

           lost perquisites, termination, and other lost remuneration and economic opportunities.

       WHEREFORE, Ms. Gomez respectfully requests that this Court enter a judgment against

   Doral awarding Ms. Gomez compensatory damages as well as costs, interest, attorneys’ fees, and

   any such further relief this Court deems just and proper.

                            COUNT V – CIVIL RIGHTS VIOLATION
                        UNDER 42 U.S.C. 1983 AGAINST MAYOR BERMUDEZ

       Ms. Gomez repeats and realleges each and every allegation set forth in paragraphs 1 – 77 as if

   fully set forth herein.

       135.        42 U.S.C. Section 1983 states as follows:

                       Every person who, under color of any statute, ordinance, regulation, custom, or
                       usage, of any State or Territory or the District of Columbia, subjects, or causes
                       to be subjected, any citizen of the United States or other person within the
                       jurisdiction thereof to the deprivation of any rights, privileges, or immunities
                       secured by the Constitution and laws, shall be liable to the party injured in an
                       action at law, suit in equity, or other proper proceeding for redress ...

       136.        At all times material, Mayor Bermudez, as Mayor of the City of Doral, occupied a

           position of final policymaking authority, and utilized his official position to influence Doral

           officials to participate in the illegal scheme to terminate Ms. Gomez. In doing so, by virtue

           of his position, Mayor Bermudez was acting under color of law.

       137.        Mayor Bermudez engaged in the illegal and unconstitutional conduct described

           herein and subjected Ms. Gomez to the deprivation of her right to Freedom of Association

           pursuant to the First Amendment to the United States Constitution, and is therefore liable

           for the damages and other relief sought in this Action.

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     138.       Upon information and belief, Mayor Bermudez and Chief Gomez believed that Ms.

        Gomez was associated with Councilmember Sandra Ruiz.

     139.       This belief was partly based on Councilmember Ruiz and Ms. Gomez’s amicable

        relationship and common friends.

     140.       Ms. Gomez’s employment did not require a political affiliation. However, as an

        employee of the Doral Police Department, Ms. Gomez was not allowed to publicly support

        Councilmember Ruiz while on duty. However, she did politically associate and align

        herself with Councilmember Ruiz’s beliefs while off-duty, like Detective Rodriguez and

        the other officers mentioned. At all material times hereto, Ms. Gomez conduct and political

        affiliation constituted an individual, legally protected association under the First

        Amendment to the United States Constitution.

     141.       Throughout his tenure, Mayor Bermudez would command and direct the Doral

        Police Department chiefs, including Chief Organvidez and Chief Gomez, to forbid any

        officer and/or employee from associating with Councilmember Ruiz. Any violation of his

        command would result in the employee’s termination or other adverse employment action,

        such as that endured by Ms. Gomez and Detective Rodriguez. Additional examples of this

        widespread policy include Officer Pablo Rodriguez’s demotions and Sgt. Giancarlos

        Pelosi’s and Detective Monica Vila’s termination because of their association with

        Councilmember Ruiz. Additionally, many others, including Sgt. Chuck Weldon and Sgt.

        Pete Peterman, were forced to resign from the City of Doral due to the pervasive

        harassment and retaliation endured as a result of this same association to Councilmember

        Ruiz.




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     142.         Due to information and belief that Ms. Gomez was associating with

        Councilmember Ruiz, Mayor Bermudez threatened Ms. Gomez with termination and/or

        adverse employment action on various occasions if she communicated and/or associated

        with Councilmember Ruiz.

     143.         Due to information and belief that Ms. Gomez was associating with

        Councilmember Ruiz, Mayor Bermudez discriminated, retaliated against, and

        constructively terminated Ms. Gomez.

     144.         The conduct described herein constituted adverse employment actions and were

        sufficiently severe and pervasive so as to create an intolerable hostile working

        environment, affecting the terms and conditions of the Ms. Gomez's employment,

        including but not limited to, causing Ms. Gomez’s constructive termination.

     145.         Mayor Bermudez knew or should have known that his actions deprived Ms. Gomez

        of her constitutional rights as a set forth above, or acted with reckless and deliberate

        indifference to Ms. Gomez’s constitutional rights, or subjected Ms. Gomez to such

        deprivations willfully, intentionally, maliciously, and with reckless regard to Ms. Gomez’s

        rights.

     146.         As a direct and proximate result of Mayor Bermudez’s actions in violation of Ms.

        Gomez’s First Amendment right to Freedom of Association, Ms. Gomez has incurred and

        continues to incur damages, including without limitation lost wages, lost benefits, lost

        promotions, lost perquisites, termination, and other lost remuneration and economic

        opportunities.

     147.         The actions of Mayor Bermudez, in intentionally depriving Ms. Gomez of her rights

        as set forth above, rise to such a level as to warrant the award of punitive damages.


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       WHEREFORE, Ms. Gomez respectfully requests that this Court enter a judgment against

   Doral awarding Ms. Gomez compensatory damages as well as costs, interest, attorneys’ fees, and

   any such further relief this Court deems just and proper.

       COUNT V – VIOLATION OF THE CONSTITUTIONAL RIGHT TO FREE SPEECH
                      (First Amendment Retaliation Against Doral)

       Ms. Gomez repeats and realleges each and every allegation set forth in paragraphs 1 – 77 as if

   fully set forth herein.

       148.        The United States Constitution’s First Amendment guarantee to free speech applies

           to local and state governments through decisions of the United States Supreme Court, as

           well as through the Fourteenth Amendment.

       149.        At all times relevant hereto, Ms. Gomez was an employee of Doral.

       150.        Doral is a municipal government.

       151.        Ms. Gomez participated in and made certain disclosures during several

           investigations by local and federal government agencies, including Doral and FDLE,

           regarding Doral’s and Chief Gomez’s alleged improprieties.

       152.        Ms. Gomez made several disclosures concerning improper conduct by members of

           the City Council and the Doral Police Department to the public.

       153.        The statements and disclosures made by Ms. Gomez to the state and federal

           government agencies, as well as to the public, involved matters of public concern and were

           not matters of personal interest.

       154.        Ms. Gomez was speaking as a private citizen considering the speech at hand was

           not made pursuant to any of her professional responsibilities as a detective for the City of

           Doral. In fact, her speech concerned administrative matters and malfeasance of public



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          employees rather criminal conduct; consequently, it did not implicate her professional

          duties regarding the investigation of criminal cases.

      155.        At all times material hereto, Doral was aware of Ms. Gomez’s participation in the

          local and statewide investigations and of certain disclosures she made.

      156.        The statements and disclosures did not disrupt the function of the City of Doral.

      157.        Therefore, Ms. Gomez's interests as a citizen in disclosing alleged improper

          government conduct outweighed the interests of Doral as an employer.

      158.        In violation of Ms. Gomez’s First Amendment right to free speech, the City of

          Doral, acting through its Mayor and City Council, harassed, discriminated, and terminated

          Ms. Gomez’s employment in retaliation for the statements and disclosures she made.

      159.        After Ms. Gomez’s protected disclosure, the retaliation and harassment were

          continuous up to Ms. Gomez’s termination.

      160.        The conduct described herein constituted adverse employment actions and were

          sufficiently severe and pervasive so as to create an intolerable hostile working

          environment, affecting the terms and conditions of the Ms. Gomez's employment,

          including but not limited to, causing Ms. Gomez’s constructive termination.

      161.        As a result of the Doral’s retaliatory termination in violation of the First

          Amendment, Ms. Gomez has been damaged.

      WHEREFORE, Ms. Gomez respectfully requests that this Court enter a judgment against

   Doral awarding Ms. Gomez damages as well as costs, back pay, interest, attorneys’ fees, and any

   such further relief this Court deems just and proper.




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              COUNT VI – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                       Against Mayor Bermudez in his Individual Capacity

       Ms. Gomez repeats and realleges each and every allegation set forth in paragraphs 1 – 77 as if

   fully set forth herein.

       162.        This is an action, under the common law of the State of Florida, for intentional

            infliction of emotion distress. Such claims arise from a common nucleus of operative facts

            as set forth above.

       163.        At all times material hereto, Mayor Bermudez intentionally, maliciously, and

            outrageously inflicted emotional distress on Ms. Gomez by intentionally harassing her,

            discriminating her, and terminating her.

       164.        More specifically, Mayor Bermudez publicly disparaged Ms. Gomez, ordered her

            vehicle to be tracked, and for her to be monitored on surveillance cameras.

       165.        The conduct was outrageous, extreme, and insulting — going beyond all bounds of

            decency and regarded as odious and utterly intolerable in a civilized community.

       166.        Mayor Bermudez’s conduct caused and continues cause Ms. Gomez severe

            emotional distress, including, but not limited to, embarrassment, humiliation, mental

            anguish, and suffering.

       WHEREFORE, Ms. Gomez respectfully requests compensatory damages and punitive

   damages against Mayor Bermudez, in his individual capacity, together with prejudgment interest

   on all economic losses, costs of this action and a trial by jury on all issues triable as a matter of

   right.

                                  DEMAND FOR TRIAL BY JURY

            Ms. Gomez demands a trial by jury of all issues so triable.

   Dated this 17th day of June 2020.

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                                                 Respectfully submitted,


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                                                 Attorneys for Ms. Gomez

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 17th day of June2020, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record or pro se parties identified on the

   attached Service List in the manner specified, either via transmission of Noticed of Electronic

   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

   are not authorized to receive electronically Notices of Electronic Filing.

                                                                s/Maryjeanne Marrero
                                                                Maryjeanne Marrero, Esq.




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                                         SERVICE LIST
                               Yvette Gomez v. City of Doral, et al.
                    United States District Court, Southern District of Florida
                                   Case No.: 20-cv-20309-JLK

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